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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     ELECTh~,                      .

AMANDA MCVETY,                                                               l;   ~~~E#~O• ?iy-(ryj/
                          PLAINTIFF,
                  v.
ANTHONY MACALUSO,                                                            13 Civ. 8877 (AKH)

                          DEFENDANT,

                          AND

SINGLE TOUCH SYSTEMS, INC.,

                          NOMINAL DEFENDANT.




                       AGREED OR.PER OF DISMISSAL WITHOUT J:>REJJJDIJ;E

          Plaintiff Amanda McVety, Defendant Anthony Macaluso, and Nominal Defendant Single

Touch Systems, Inc. (collectively, the "Parties"), have submitted this Agreed Order of Dismissal

without Prejudice signed by counsel for the Parties. Though the Parties continue to disagree

regarding the legal merits of this lawsuit, the Parties agree that Mr. Macaluso would likely be

unable to satisfy any monetary judgment because of his current financial situation. Accordingly,

the Parties agree that no Party would benefit by the further litigation of this matter at this time.

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          IT IS THEREFORE ORDERED that all claims or causes of action that were asserted or

that could have been asserted by the Parties in this action are hereby dismissed without prejudice

to the refiling of same. All relief requested by the Parties to this Agreed Order and not granted is

denied.
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                      HONORABLE AL VINK. HELLERSTEIN
                      UNITED STATES DISTRICT COURT JUDGE




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